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        Attorneys for Defendants, County of San Bernardino,
    6   Kyle Hayden Woods and William Kelsey
    7
    8                           UNITED STATES DISTRICT COURT
    9                          CENTRAL DISTRICT OF CALIFORNIA
   10
        DOMINIC ARCHIBALD AND           )            U.S.D.C. Case Number:
   11   NATHANAEL PICKETT, I, AS        )            5:16-cv-01128 AB (SPx)
        INDIVIDUALS AND AS SUCCESSOR)
   12   IN INTEREST TO NATHANAEL H. )                (Assigned to the Honorable District
        PICKETT II, DECEASED.           )            Court Judge André Birotte Jr.)
   13                                   )
                   Plaintiff,           )            DEFENDANTS’ WITNESS LIST
   14                                   )
             v.                         )
   15                                   )            DATE:             February 12, 2018
                                        )
   16   COUNTY OF SAN BERNARDINO, )                  TIME:             11:00 A.M.
        KYLE HAYDEN WOODS, WILLIAM )                 CTRM:             7B
   17   KELSEY, and DOES 2-10, INCLUSIVE)
                                        )            TRIAL DATE:       March 6, 2018
   18              Defendants.          )            TIME:             11:00 A.M.
                                        )            CTRM:             7B
   19                                   )
   20   TO PLAINTIFFS AND TO THEIR ATTORNEYS OF RECORD:
   21         Defendants County of San Bernardino, Kyle Hayden Woods and William
   22   Kelsey submit the following proposed Witness List for trial:
        Witness’s Name*,        Summary of            Time for       Time for    Dates of
   23
        Phone Number,           Testimony / Why Direct               Cross       Testimony
   24   Address                 Testimony             Exam           Exam
   25                           Unique                (hours)        (hours)
        *Indicates that witness will be called only if the need arises
   26
   27   1. Plaintiff Dominic     Plaintiff’s;                       4 hrs.
   28
        Archibald                damages



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    1   Witness’s Name*,       Summary of            Time for   Time for   Dates of
        Phone Number,          Testimony / Why       Direct     Cross      Testimony
    2   Address                Testimony             Exam       Exam
    3                          Unique                (hours)    (hours)
        2. Plaintiff Nathanael Plaintiff’s                      4 hrs.
    4
        Pickett, I             damages
    5   3. San Bernardino      Defendant;            3 hrs.
    6   Sheriff’s Dept.,       incident facts; use
        Deputy Kyle Woods of force against
    7                          decedent
    8
        4. San Bernardino       Defendant;          2 hrs.
    9
        Sheriff’s Dept.,        incident facts; use
   10   Volunteer Citizen on    of force against
   11   Patrol William Kelsey   decedent
   12   5. San Bernardino       Response to and 30 min.
   13   Sheriff’s Dept.,        investigation of
        Deputy Tommy            incident; incident
   14
        Dickey                  facts; use of force
   15                           against decedent
   16
        6. San Bernardino       Response to and 15 min.
   17   Sheriff’s Dept., Det.   investigation of
   18   Mark Rios*              incident; incident
                                facts; use of force
   19
                                against decedent
   20
   21   7. San Bernardino       Response to and 15 min.
        Sheriff’s Dept., Det.   investigation of
   22   James Williams*         incident; incident
   23                           facts; use of force
                                against decedent
   24
   25   8. San Bernardino       Response to and 15 min.
   26   Sheriff’s Dept.,        investigation of
        Deputy David            incident; incident
   27   Johnson*                facts; use of force
   28                           against decedent


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    1   Witness’s Name*,        Summary of            Time for   Time for   Dates of
        Phone Number,           Testimony / Why       Direct     Cross      Testimony
    2   Address                 Testimony             Exam       Exam
    3                           Unique                (hours)    (hours)
        9. San Bernardino       Response to and       15 min.
    4
        Sheriff’s Dept., Sgt.   investigation of
    5   Joseph Janowicz*        incident; incident
    6                           facts; use of force
                                against decedent
    7
    8   10. San Bernardino      Response to and 15 min.
        Sheriff’s Dept., Det.   investigation of
    9
        Ryan Smith*             incident; incident
   10                           facts; use of force
   11                           against decedent
   12   11. San Bernardino      Response to and 15 min.
   13   Sheriff’s Dept., Det.   investigation of
        Mark Green*             incident; incident
   14
                                facts; use of force
   15                           against decedent
   16
        12. San Bernardino      Response to and 15 min.
   17   Sheriff’s Dept., Sgt.   investigation of
   18   Jeff Simonton*          incident; incident
                                facts; use of force
   19
                                against decedent
   20
   21   13. San Bernardino      Response to and 15 min.
        Sheriff’s Dept., Det.   investigation of
   22   Chambers*               incident; incident
   23                           facts; use of force
                                against decedent
   24
   25   14. San Bernardino      Response to and 15 min.
   26   Sheriff’s Dept., Sgt.   investigation of
        Jason Radeliff*         incident; incident
   27                           facts; use of force
   28                           against decedent


                                                 3
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    1   Witness’s Name*,       Summary of            Time for   Time for   Dates of
        Phone Number,          Testimony / Why       Direct     Cross      Testimony
    2   Address                Testimony             Exam       Exam
    3                          Unique                (hours)    (hours)
        15. San Bernardino     Response to and       15 min.
    4
        Sheriff’s Dept., Lt.   investigation of
    5   Mendoza*               incident; incident
    6                          facts; use of force
                               against decedent
    7
    8
        16. San Bernardino     Response to and 15 min.
    9
        Sheriff’s Dept.,       investigation of
   10   Deputy Jason           incident; incident
   11   Shroeder*              facts; use of force
                               against decedent
   12
   13   17. Deputy Coroner     Nature and extent 30 min.
        Investigator Joe       of decedent’s
   14
        Hernandez*, San        injuries;
   15   Bernardino Sheriff-    investigation of
   16   Coroner                incident
   17   18. Barstow Police    Response to and 1 hr.
   18   Department Det. Keith investigation of
        Libby*                incident; incident
   19
                              facts; use of force
   20                         against decedent
   21   19. Barstow Police    Response to and 1 hr.
        Det. Leo Griego*,     investigation of
   22   Barstow Police Dept., incident; incident
   23   220 E. Mountain View facts; use of force
        St. #B, Barstow, CA against decedent
   24
        92311, (760) 256-2211
   25
   26
   27
   28



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    1   Witness’s Name*,         Summary of            Time for   Time for   Dates of
        Phone Number,            Testimony / Why       Direct     Cross      Testimony
    2   Address                  Testimony             Exam       Exam
    3                            Unique                (hours)    (hours)
        20. Barstow Police       Response to and       1 hr.
    4
        Department               investigation of
    5   Detective/Stg.           incident; incident
    6   Christopher Kirby*       facts; use of force
        Barstow Police           against decedent
    7   Department 220 E.
    8   Mountain View St.
        #B Barstow, CA
    9
        92311, (760) 256-
   10   2211 and/or c/o
   11   Ferguson Praet &
        Sherman
   12
   13   21. Barstow Police       Response to and 30 min.
        Department Det.          investigation of
   14
        Andrew Reyes*            incident; incident
   15   Barstow Police           facts; use of force
   16   Department               against decedent
        220 E. Mountain
   17   View St. #B
   18   Barstow, CA 92311
        (760) 256-2211
   19
        and/or c/o Ferguson
   20   Praet & Sherman
   21
        22. Barstow Police       Response to and       30 min.
   22   Department Evidence      investigation of
   23   Technician Sabrina       incident; incident
        Ellis*, Barstow Police   facts; collection
   24
        Department               of evidence
   25   220 E. Mountain
   26
        View St. #B,
        Barstow, CA 92311
   27   (760) 256-2211
   28   and/or c/o Ferguson
        Praet & Sherman

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    1   Witness’s Name*,      Summary of           Time for   Time for   Dates of
        Phone Number,         Testimony / Why      Direct     Cross      Testimony
    2   Address               Testimony            Exam       Exam
    3                         Unique               (hours)    (hours)
        23. Barstow Police    Response to and      30 min.
    4
        Department Senior     investigation of
    5   Evidence Technician   incident; incident
    6   Deanna Schooler*,     facts; collection
        Barstow Police        of evidence
    7   Department
    8   220 E. Mountain
        View St. #B
    9
        Barstow, CA 92311
   10   (760) 256-2211
   11   and/or c/o Ferguson
        Praet & Sherman
   12
   13   24. Barstow Police    Response to and 20 min.
        Department Officer    investigation of
   14
        Mike Cardenas*        incident; incident
   15   Barstow Police        facts; use of force
   16   Department, 220 E.    against decedent
        Mountain View St.
   17   #B, Barstow, CA
   18   92311, (760) 256-
        2211 and/or c/o
   19
        Ferguson Praet &
   20   Sherman
   21
        25. Barstow Police    Response to and 20 min.
   22   Department Officer    investigation of
   23   Dante Caliboso*       incident; incident
        Barstow Police        facts; use of force
   24
        Department, 220 E.    against decedent
   25   Mountain View St.
   26
        #B, Barstow, CA
        92311, (760) 256-
   27   2211 and/or c/o
   28   Ferguson Praet &
        Sherman

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    1   Witness’s Name*,      Summary of            Time for   Time for   Dates of
        Phone Number,         Testimony / Why       Direct     Cross      Testimony
    2   Address               Testimony             Exam       Exam
    3                         Unique                (hours)    (hours)
        26. Barstow Police    Response to and       20 min.
    4
        Department Sergeant   investigation of
    5   Andrew Ellis*,        incident; incident
    6   Barstow Police        facts; use of force
        Department, 220 E     against decedent
    7   Mountain View St. #
    8   B, Barstow, CA
        92311, (760) 256-
    9
        2211 and/or c/o
   10   Ferguson Praet &
   11   Sherman

   12   27. Barstow Police    Response to and 15 min.
   13   Department Officer    investigation of
        Joseph Silva*,        incident; incident
   14
        Barstow Police        facts; use of force
   15   Department            against decedent
   16   220 E. Mountain
        View St. #B
   17   Barstow, CA 92311
   18   (760) 256-2211
        and/or c/o Ferguson
   19
        Praet & Sherman
   20
   21   28. Barstow Police    Response to and 15 min.
        Department Officer    investigation of
   22   Ruben Escalante*      incident; incident
   23   Barstow Police        facts; use of force
        Department            against decedent
   24
        220 E. Mountain
   25   View St. #B,
   26
        Barstow, CA 92311
        (760) 256-2211
   27   and/or c/o Ferguson
   28   Praet & Sherman



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    1   Witness’s Name*,      Summary of            Time for   Time for   Dates of
        Phone Number,         Testimony / Why       Direct     Cross      Testimony
    2   Address               Testimony             Exam       Exam
    3                         Unique                (hours)    (hours)
        29. Barstow Police    Response to and       15 min.
    4
        Department            investigation of
    5   Lieutenant Andrew     incident; incident
    6   Espinoza, Jr.*,       facts; use of force
        Barstow Police        against decedent
    7   Department
    8   220 E. Mountain
        View St. # B
    9
        Barstow, CA 92311
   10   (760) 256-2211
   11   and/or c/o Ferguson
        Praet & Sherman
   12
   13   30. Barstow Police    Response to and 15 min.
        Department Officer    investigation of
   14
        Juan Zepeda*,         incident; incident
   15   Barstow Police        facts; use of force
   16   Department            against decedent
        220 E. Mountain
   17   View St. # B
   18   Barstow, CA 92311
        (760) 256-2211
   19
        and/or c/o Ferguson
   20   Praet & Sherman
   21
        31. Barstow Police    Response to and 15 min.
   22   Department Corporal   investigation of
   23   Jose Barrientos*,     incident; incident
        Barstow Police        facts; use of force
   24
        Department            against decedent
   25   220 E. Mountain
   26
        View St. #B
        Barstow, CA 92311
   27   (760) 256-2211
   28   and/or c/o Ferguson
        Praet & Sherman

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    1   Witness’s Name*,        Summary of          Time for   Time for   Dates of
        Phone Number,           Testimony / Why     Direct     Cross      Testimony
    2   Address                 Testimony           Exam       Exam
    3                           Unique              (hours)    (hours)
        32. Captain Steve       Nature and extent   15 min.
    4
        Ross*, Barstow Fire     of Decedent’s
    5   Department              injuries; medical
    6   861 Barstow Road        response and
        Barstow, CA 92311       treatment
    7   (760) 256-2254
    8   and/or c/o Ferguson
        Praet & Sherman
    9
   10   33. EMT/Paramedic       Nature and extent 15 min.
   11   Ken Self*, Barstow      of Decedent’s
        Fire Department         injuries; medical
   12   861 Barstow Road        response and
   13   Barstow, CA 92311       treatment
        (760) 256-2254
   14
        and/or c/o Ferguson
   15   Praet & Sherman
   16
        34. EMT/Paramedic       Nature and extent 15 min.
   17   Carlos Topete*,         of Decedent’s
   18   Barstow Fire            injuries; medical
        Department              response and
   19
        861 Barstow Road        treatment
   20   Barstow, CA 92311
   21   (760) 256-2254
        and/or c/o Ferguson
   22   Praet & Sherman
   23
        35. EMT Alexander       Nature and extent 15 min.
   24
        Jacobs*, Barstow Fire   of Decedent’s
   25   Department              injuries; medical
   26   861 Barstow Road        response and
        Barstow, CA 92311       treatment
   27   (760) 256-2254
   28   and/or c/o Ferguson
        Praet & Sherman

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     1   Witness’s Name*,        Summary of            Time for   Time for   Dates of
         Phone Number,           Testimony / Why       Direct     Cross      Testimony
     2   Address                 Testimony             Exam       Exam
     3                           Unique                (hours)    (hours)
         36. Travis              Nature and extent     15 min.
     4
         Espinoza*,              of Decedent’s
     5   Barstow Fire            injuries; medical
     6   Department              response and
         861 Barstow Road        treatment
     7   Barstow, CA 92311
     8   Tel: (760) 256-2254
         and/or c/o Ferguson
     9
         Praet & Sherman
    10
    11   37. Forensic            Nature and extent                1 hr.
         Pathologist Dr. Scott   of decedent’s
    12   McCormick,              injuries; cause of
    13   County of Riverside     death; autopsy
         Sheriff-Coroner
    14
         Perris Coroner’s
    15   Facility
    16   800 S. Redlands
         Perris, CA 92570
    17   Tel: (951) 443-2300
    18
         38. Dr. Howard W.       Nature and extent                1 hr.
    19
         Oliver, Autopsy /       of decedent’s
    20   Post Services, Inc.     injuries; cause of
    21   5134 Valley Blvd.,      death; autopsy
         Los Angeles, CA
    22   (800) 288-6779
    23
         39. James Kennedy       Witness; incident                2 hrs.
    24
         Last known address:     facts; use of force
    25   31336 Highway 18        against decedent
    26   Lucerne Valley, CA
         (442) 235-6284
    27
    28



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     1   Witness’s Name*,         Summary of          Time for   Time for   Dates of
         Phone Number,            Testimony / Why     Direct     Cross      Testimony
     2   Address                  Testimony           Exam       Exam
     3                            Unique              (hours)    (hours)
         40. Clarence Robert      Defense expert;     2 hrs.
     4
         Chapman, National        liability and use
     5   Justice Consultants,     of force issues
     6   Inc., 1507 7th Street,
         Suite 350, Santa
     7   Monica, CA 90401
     8   (310) 429-2940
     9
         41. Marc A. Cohen,       Defense expert     2 hrs.
    10   M.D., A Professional     witness; trial
    11   Corporation, 360 N.      opinions re: video
         Bedford Drive, Suite     footage
    12   317 Beverly Hills, CA    surveillance
    13   90210
         (310) 724-5500
    14
    15   42. Parris Ward,         Forensic          2 hrs.
    16   Biodynamics              psychologist;
         Engineering, 1011        decedent’s mental
    17   Swarthmore Avenue,       health issues and
    18   Suite 1, Pacific         conduct at scene
         Palisades, CA 90272
    19
         (310) 454-0924
    20
    21   43. Dr. Cory Wilson, Injuries to             30 min.
         Barstow Community Deputy Woods
    22   Hospital
    23
         44. MaryAnn Savory, Injuries to              30 min.
    24
         NP, Barstow         Deputy Woods
    25   Community Hospital
    26
    27
    28



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     1   Witness’s Name*,      Summary of           Time for   Time for   Dates of
         Phone Number,         Testimony / Why      Direct     Cross      Testimony
     2   Address               Testimony            Exam       Exam
     3                         Unique               (hours)    (hours)
     4
         46. Dr. Alix Vincent, Injuries to          30 min.
     5   Barstow Community Deputy Woods
     6   Hospital
     7
     8   47. Dr. Robert Reuter, Injuries to         30 min.
         Barstow Community Deputy Woods
     9
         Hospital
    10
    11   48. Dr. Peilin C. Reed, Injuries to        30 min.
         Barstow Community Deputy Woods
    12   Hospital
    13
         49. Dr. Matt Hudkins, Injuries to          30 min.
    14
         Barstow Community Deputy Woods
    15   Hospital
    16
    17   Dated: January 22, 2018           ALVAREZ-GLASMAN & COLVIN
    18
    19
                                           /s/ Roger A. Colvin, Esquire
    20                                     Roger A. Colvin
    21                                     Attorneys for Defendants
                                           County of San Bernardino, Kyle Hayden
    22                                     Woods and William Kelsey
    23
    24
    25
    26
    27
    28



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     1                             CERTIFICATE OF SERVICE
     2
               I hereby certify that I electronically filed the foregoing with the Clerk of the
     3
         Court for the Central District of California – by using the CM/ECF system on
     4
         January 22, 2018
     5
               I certify that all participants in the case are registered CM/ECF users and that
     6
         service will be accomplished by the CM/ECF system.
     7
               Executed on January 22, 2018, at City of Industry, California.
     8
     9
    10                                                 /s/ Maria Luisa Espinosa
    11
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